Case 2:11-cr-20148-GCS-MKM ECF No. 48, PageID.165 Filed 03/12/12 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
                                                     Case No. 11-20148
vs.                                                  HON. GEORGE CARAM STEEH

D-3 ARMANDO DAVILA,

             Defendant.
                                          /

             ORDER DENYING DEFENDANT’S MOTION FOR RELEASE
                  ON BOND PENDING SENTENCE DOC. #46

      Defendant’s motion for release pending sentencing has been reviewed and

considered by the court along with the government’s opposition and the

recommendation of pre-trial services. Given the defendant’s substance abuse history

and substantial history of violence, he is unable to demonstrate by clear and convincing

evidence that he would not endanger others in the community if released.

      Accordingly, defendant’s motion for release is hereby DENIED.

      IT IS SO ORDERED.

Dated: March 12, 2012
                                              S/George Caram Steeh
                                              GEORGE CARAM STEEH
                                              UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                       March 12, 2012, by electronic and/or ordinary mail.

                                      S/Josephine Chaffee
                                          Deputy Clerk
